                                                ~-




                                                                .     . . .)
                                                     t~'ttl~ '1~s~:;!fu~ ~ ;~~~;fc~u~~t
                                                            ~=Y*i<~~T~~~~·


 }{'yQ:u>a:Fe~n:tilr~presented, h)' an··a'tfo·~:;     y.<XU mUst 1nftrm the court and all other parties~ this
 cas€~ in "-W:iting, o'f your current ttl' . .       crtl'f:ess 21,nd any futar~ ch:a,nges to your mafling


 .!$:~;1Ja:~~;~v7~~=~~·Nr~r;r~~i!~Y.·2
                                  NOTlOEO;F J'L'RL11JJI.AL ASSiGNMENT
 TO: :Ptaintifland Dcftmdant
    are l:wrebv .gtiv.en nq.tic.<';l th<J,tJ
 '1.:o\1.           :,;:
                                                                                  ;
                                                                                 .~1.


{:J This ¢:ase has been assig11e~ to; S:u:pefhw GouttJifdgc~o'-~-'--+'-"'-/+?'+''"-;;<'·""";f':""':,+. ' '·,,_."----~~-
            aild Master                                       ·    '
 0          Tms c.ase ha.s been assignedto!:O,fstd¢t.Co1Jrt Judge-------------~
                                                                   CLERK OF COURT




                  Date


 ~.ccrticy that on ''I/t:,. iJ i acopyofthis.S,.IJ!l)'tilonsw~s 0       mailed          tbJ   givento
 0, pl?iptiff      f]' pJa}ntiffs coUJ}s~lal~ilg W:itl) ficopy pfthe
'0 Domestic Relations Procedural Order' 0 0iV:il'Pre-Tr:ial Order
to serve on the defendant with the sumn:tons.
Deputy Clerk               lft)       . ·
 * The State or a J~ate officer or agen_cy n1l.tn~d ~s a defendant ha.s 40 days to file its ahswer. If
 you haw.~ been served with this sumi:li.bJ1s o.utsidc. the United State~, you also have 40 days to file
)'Out answer.
C.~V-1\JO
·stJMMGNS
             ANCH.(u/lO)(st-3)
                Case 3:18-cv-00043-JWS Document 1-1 Filed 02/14/18 Page 1 of 11
                                                                     f!XHIBIT
                                                                                         Civil Rules 4, 5, 12, 42(c)i 5·5
                                                                                                                            r
                                                                                                          Page          ( of    l{   ....
 ~:~~;:., ~~,~~
  ;I: . J; m¢\,$t; ...· t.:bl ~\r:~tli'We,.. :S:tu:t
 :~n~!:loJ&;~~:e::, Z¥1~$~\3: ~~$')\~1
                                                       ''

·tJ:l:ttJ.¢~:Q~e {~:f''~ · 2;ii$,'"'~·:t 1-~
 ==-~~m;~i&::!~~i~:!::
                     ~- w~~~~~~~~~~~~$~!J:G~w~~-~~'f~~n~~u




                                                            C~Ji:~jlgiN+

          0GMEl:S      Rei~     the:    ,](t:,c;tdH:'.i:td,.ff ·W:t'llD' W7$'Ste GXJN::$ 1 L!LC,   tlR':r'bMgh its




          1.      At: all_ utmes releYJant here,in,                           the Plaintiff WILD WEST

:GtJNS, J",LC' was an Alaska LimJted Liability Company with its

J?tinciple pla,c~ p:f b1,4Bi118ss in Anchorage, within the Third



          2.      At a.ll t:i.mtas            relev~r.nt       herein,       the Defendar1t SUPERIOR

AMMUNITION,              INC was either a South Dakota business corporation

·wtt:tch ::;old firearm                iittlll:llU'rrition    co customers in Anchorage, within

the 'rhird Judici,a:.1 bist;tj_ct of tr1e State of Alaska, or was a
South Carolina bqs;iA1ess corporation that was the successor in

                                                                1




                                                                   EXHIBIT              )
                                                                  Page 2 -of ~-::-r.o~f
               Case 3:18-cv-00043-JWS Document 1-1 Filed 02/14/18 Page       11 --~--.-_-l~t.~
        :;..
                ~~~!flti¢¢$'b. _,        ;t,~6~fi4.:l'%f a:o;~e~$:?S:ii1'lt'          hi0    -~;!Ia;:e :t~~rifr :l·~;ami.:ll:J.,l!;:.;i.rrLs , :¢£. :(t.;h;~,

                i$'!:)}1N.t:ti n~~~·~;& f1;ut$iicw~:e c~:~Iif~:t~:tt,'ii,&>;n, •$11;:l:fe~it~w ~mw~tt it,~~ t ::er~:Q •

                              ~- "     .~;t;:; ·~\); ~ tt;~.m~l? ~~l?~M~J!l}I7f ::&~1[1e:i'Fl>                nih-e    -~~:r:.a:J:t]!ll:a:~ DZ\\~lz'Y:

                ~~W.Eill:~r· ~-1:r:t'){);e1f' q}it;tX~t;t- ~nd;if~~ oJ»~ilftit:~g,l ~n~ ;I?e;f~it!¥d<amt· $JJ.;~~~r.Q:J.&

                ~WI'M~W:~1Nt:'b~t,_ ~t'! . ~h~                    :i;;t. s:old        :'f:i·:t'€l~wm, a;mrrwtni~ftl~n               il!l A1:1);ce!J.ttQ:llf'~~-.e

                w~;:tt,lti:xr t:~~ 'J:~·$+d: ~tre&i..Ya~.:t J.4i~:t::;:t;~,t;t1. t~t ~~\"!; -~~#\'.~:e· ~f ~l}li!,tl:tt,~.•.

                                                                       ~eJJ;~;~:\eil. ~,;t,:tA~r$;a;~~4::9'Pi~$'

                             i!l,,     11ile   a;;i,l!"&~~-Jr.ci.!0;n:c:s. ;ita: .p;a;'Xl"~~:iS-~JP•fu:s 1 ·>t;b~ug:~              .3•   :a~

                JL\i:4~~i<t~~~~~tl ·~Qr z:tr'-~i$~~~11l•tJ't~r <9f$ i~ ~fit:4:l¥' a~t: lif~>ihh h:~¢,1l:r;t •

                            :5:!.     ~~n:J~J;;::J;;ro~   1\i't':iwt    ;\;•9 QG,t:o!t¥~;\~     4 :i ~:()'hit· &;~~@:\Si.~t. '~mm~t!'&J::;1:!11l:t'lt..


               r<'ii':ffi 'tl\r'¢ $'\8?.1ittr'B: :~:Jfi :$'$.}1ilih lJ~k0ta: .

                            '6 ~-     $'/iP:!'l;tf,'fQ:!/1:1)~ p:p;'lo;;t; 'to 0.9t:o·bie~ 4            1   2.0'1.;L    $\\il;JP~o/ ,.A';f;tlm)2Ui;ic~~.q:r::r,

.~.~~           ;tr,~¢;,     b·~X~ ;D;~¢~if           ottt Hi it:s               <;r;d,ve:rtisin~ ·~±str.'l:'b]!;t:.e~·Q. eq~o.tt~'h,on:tt

                ·fu'h~e· Um\1;4·~ :~{3;a:t•.es:~;           ine.1u'<l1·11l'Sl      )i\F;J;e]f:r6r~~e~          !Al;q;$~a.~      ·t7.Jtact it:;



               ~f>-o:J:t:.:Un9' ~·s:·~;s,         :ip.cl'udittg t:arge;t shootin8l an~. httitrt~·o~.
                            1.        Soln~(::t;m~        J?'X'iox-- to October                 4   I       2011, R:tfie,S\t 'M¢in:h.tr;r:;'dt                    w;as
               •$ re%:;t;l;dent.          o:Jf A1·Iciho:r::ag,e w.i.th:in the Third Judki·<DiaJ: tr;l.s.:tJ;;ij,,'G;t 0cf tae

               ~s.:t;l)ftLe .of :Altaska ;




               ;E}'f:J:irn.:et:t.    ;t;ep·t?~sented         to. Etnes t Meinhardt that S·up:E::r1o,r 1\mmunit.J:.<Jl\i,

               :rxt¢-..    eri:~·:ct9J·ed i.n       the bustine.ss of loadirtg cu.stem EJ,r:e:arrn o,q..t:t:cid'§es

               ,§uitable and s:a.fe for firing in Earnest Meinhardt Is rifle wl:d<;;Q,




                                                                                        2



                                                                                        EXHIBIT -                                                                        l
                                                                                        Page    c~ of                                                                    ..... ,tl
                                     Case 3:18-cv-00043-JWS Document 1-1 Filed 02/14/18 Page 3 of 11
                     ~..      A;(t t:n~ t:im~ Jt:JitW;<W~ ·tt.~ ·~t:~•eJ$ 41• 4 .2~(;11~. ·wla~'lt); -Stt~li'~H~·"i~·r

          ~m~u~:t;,];.qfl;., 1~~) m~•· ~:~~; :tt~PJt~l$~.n~·9-<,t;~~tx$: e~· ~;tte;$.:i~· t\f~i~.t'l~:t74~ .®

          ·~~.::;:~~i~~u. at>Q:vt~l '~fl~tr~::ij~ m.~:t:n:O:a~:h x;as;Lci~#t' :in 1\ircteth£>\'it:a;~e.f .J,\:Ji~'$:k:'Cl; ;



          ss~~¢·;t:~l9l:' P.:trm\P-ttit;lwl!t1      :r.:ne. ,   ·tii1?7o~l:l ·i<~· t~~~*~~e,~~?~!'Vf.~                          :Uficat:¥fw
          ;:~~.r~.\li~t:J:,   en•t¢'wi;td t.'fli~-9 ~'ll a.~t'~~m~,m·t: :.t;~ w·h~mtl; s;m,W<~:)7.d:fo'tt 'l.Xft\ttiitl.'ii&ti<>~~
          -t~ . ~~3tl~H~:d t~: tti~~'liJ!~rtttilat,e G::$\t't~~·i\~ • :H1·@ W~tli\Pl:t~~t~,. ~&~W~.f\J.m

          :ammun~Ltitxn :fzd:!lt' Etalf,n1P:sl:        Me'i-ritta;:tdt;. 11;Q,·v·           ~~~ i,n. ~~:~·n~$tt. ~iainli¥~1t41t~·s

          :ilri:f~~ ·109:tt$;i;g);:t:p~~ :~;~ f;);.l1lf¢i ·ii\O<Q w:~atda:~$Ji:;j' ~g~Ol .~mtn:~;Jt1'r:L~.i$'f:t~

                     l?,.      l'.i@:t"¥}1' !~.~~J?i;, ~;s. t;;;il11'@. \lf~~'*'~·g.~;l(l~~~i"'\ll~ i$1>i1~l~~ <'!\•l&J~s~ ts;ft:•

          s:u.~:Ei~w.;Lcr Atumu"J.J.i.t:ictn,       rn~..     t:e}tt:t;.~l:\l~.~ist!::~~-    t!o   :E!ax·t:l:t%s•t :M~·:Lnll~~iflt: t.h'¢l:t
          $'\:l~:tiO~ ,l.\rntn:tl•vt'i!ti.q:nJ:,   JI;noe,    WQU;b{'l, U),\a'X'Jil:lt1~·~-GC'1;;l'!!E!- t~J~· S~t:?.t):E;\S:oti:;   , )'():()

          ,W:~~t;:;h;~:tby M4.g:n~m ~mmwx;~J,-t.i,'(;).JJ1 Wi!:h :e1irg1fcrct.:~·r±s~t·ics" i.n§\1:<~cti~n·t.s 1

.-'"""'   p,ges\,     ber:H~fits, ;OJ;: cyV'<aJ1ititi~:$               it:ha·,t .Q'ai;\;fseti th~ qrfi\triP,l;d,.t lo:n t:o P:~
          $£d:'~¢   .<a:nd s;Q,it.a:bl:e     rqr     tfu;e. •saf)Ua      !llJ~·~· ;Ji';p.    E:a\rn:¢:$:t   ii(J~:.:j,J:1'#,Wlf;;d't!_i$ :t'iif;bEJ

          wJ.1:en the         arntnurti~IL¢51it :$,qld       ko E~r.nes4: Nire·inh:a:x&:t did                        no::t have t:he




                    12.        Larry Barnett, as· the :19e)?•t'esentative                                     ~:nd/or          ag•er'i..t: of

          SU,:p{3rio:r Ammunition, Inc. ;rc:ep::resent.ed that the ammunitipn
          $uperior Ammunition, Tnc. wou;Ld fc1arp.l.(a.ctttre for Ear'nest: Heinharclt



          the a.mmunition suitable for use in Earnest Meinhardt's rifle when



          t;:h,e ammuni.tiqn suitable for usi:'! in Ep,:tnest Mi::!inhar:qt' $ rifle.


                                                                          3



                                                                                                                                 EXHIBIT       (
                                                                                                                                 Page _if:.ot'--_-l~/.-_-·
                            Case 3:18-cv-00043-JWS Document 1-1 Filed 02/14/18 Page 4 of 11
               $J;.*      ;~~·;e:.t~ .$~1tt:l~!';t;: , :~·;?; #b;,~ :t:~~~@~:tf~~:i1t~· :rxt{f!!i/'~'1:: ~~~flit ~1·

 ·$~p~~;J!t              .mtttinttniJt:;ifum.; .lttc'.,                ~<d;e• tttts:tepJ?e:·s:e;n~~J~imns                     tl:ra·e t:ne:

 atmtn~i:t·~~.'&l: ~~~f:t:;r;::'J.q~ ~mm~n,l;tf,~~~ .l~¢· w.~ttl~. m~~u~;f$·c;t;tHt~ fiQl:'

 .~~~~~.~;t; @~·!.i,_,n;ffx&t:t:<i'J; ~{;)J,~tl,~ .Jg~ $•~£~                      fQ;t' i;($'$ :ttl i~:tlt~~f<i:t M~·.ihbard't ' s

 ;,x-·~;J#;~: wYfu;~tJi•. ~w o/ai$ ta();l~,

               J:'4 ..    '$·~m~t:frn~ J,?;~l~r                     t:©, on.F •&!.!f·   ~lh9•U'b ~€/,t:;c<?belt· '4r              ¥..Q11.,

·~J?~it·;l,Q:.t .1\'(mrtu:tti:UJ.~r;t,, l:a~.                        :ca~~ .c;~<mt;o·amn ·~fum:U.tti.t~~rt re~t~-s•ent•ed

 ~ ~· $~~~ ·~ttSJl !i:l;l;i•t@.thl~ .t:~:r ~.:;i,~:eh'a-~g.%·rtsr ~·tt :fi:'~~:e~E?~t                                        'riF¢:it:plltarcl;t;; ( ·~·
X"t~:l'~ ~Q'nf:J:c'S;t;\ili:~d t:;!4' ;!~:tt~P ~ ;,to~- 1ftr4~t!·Pi~~~-Y ,Ni@;~\.i\UJ ;at'fjTX!J.\l~lt:::t<4n tp ~·~­
mi;l;hl!l:&ia(J·tJ:X~e£1: J~~iii;,             !1:it1:J..g   t:~:, ~~d       $:h1iW'I:?ei21      @.i!?;    W%:;1¢r£¢?•t neiP:hatif:t: •vitro:
 J:;Ei'$'i~4:fHfi·.   ,J,tt AnGtroJZaSf€,. ,fo\. ~,aHka,

               1,~,       ~t: ~lJ 't;;i;rtr,¢'$ t4it;1g~~ft1t f1s:~~"ii~~                          :t;)J;rz;}.;ut);;ii·.q;~ r!)'lt:i,or   4\3
s~~l$~~b~w                :i$01,.5,, w:il<;l \lrE$$t Gu:oa;.                   hit~     w,qJ;s     in :thi;;;!'    lJJJ;$:;t.rr~'s$ o£

crit<ittl:U&:a;ct tbr :Ln.g I          r;epaiii r·:tn·g- i          mod':if:;V:Ln@., t:'eJ? i.tJLsh t:rl'~ and s E:il i ng
1:;~;1;f~;~-iitmS',       f:~:;t:"~F*:~rff~S :Jti):ll:Jr'~·lil ;.    fi:t?ea£ms aq~$:s.s;.o¥$e;s; f:i'l?ieaxrns

a,m~~:$t?;iP:I:l ~·t;1d'               tl':Untiug            aco:es$or::Le~.




rif'le e0nfigured to discharge . 30;0 Weathe,rpy Magnum ammunition,
a,:J;;q;,~\3   "'lith . 3oo W$at:her'by Magnum ammunition manu.f<:wtured fo:r,;
E:a;l!ue:st Mein,hq~.;rdt by Superior Ammunition,                                                         tnc.    ;fOJ; use in the

J?er;ct{c1;1la:r:- rLfle.,,                   to Wild Nest Gun:.3·, LL:C fer the purpose of (a.)



telese:opic sight, and                                   (c)        adjust iTtg t·he new t.eJ.,e$copic sight to

G9l:ise the point of a, b\;.l.llet discb,ar<;Jed from the rifle to impact a

ta·:c,get:. at the point where the cross-ha.i;r.e of the telescopic sight

int:e:rsected o:ne .another at an est:ablished distance                                                                     (hereinafter


                                                                              4




                                                                                                                                  EXHIBIT                  (
                                                                          Page_ 5 ~
                      Case 3:18-cv-00043-JWS Document 1-1 Filed 02/14/18 Page     of 11 --_(;-:_:
                .;Jtef~ilfJt~~ ft(!j. as; ~~~i,~f;t.e                  lin .~'h~· r:ifil~~"~') •
                             1"1.            'l'n ~~;~~~@"t' g·'fj:;Lp;: /~'!!,~ ·W~$'E $y~ts•, }fu]l;t;! ·~fi\JP~-~~4 S::C.li®.
                ltiw~n·!ila •'Q"a'(p iil~td:A~is~ ;t;n;c:zt•tt;~~~ itis~:~l1:tnw t.ttd,:aiS\n~~:l:c si.~~~s: !QJ?+•

                ~i:fll~~ ~t>Xi ~-i~fiitiit~.~· J.n. t:n~ ~~·fl~ ~~:~'t::ce•.1;7 .(;;tt~ t'¢.1~~~~~~¢· ·a;~,fJin!t ,.~~

                l;ii;S:t.:?fit .);;~¢l! •.
                             18 •            <?Jn 0¢; ~1;)·0u:tt :s:e·ptt::e.tJih~'+ icS,          1ro1;s·,    1;.1r:±~~      a-vrq;m:Gta.,    .~:m;tng

                1;.~~ -~~~~~ ~l'li:f ·¢'@'Qc'Zf·~~               .tii,g   ~4,~ f1~J;,~ym~~t: ·~1' Wi$:(;t 'W~~tt:. ~tk\i'l:S•i :tif}4~ (~l
                                                       ...
               ~~m:c:rv-¢'~ tJJ.a: e~'i~t:.i;,;.,w t~¢1~·$~Q:@4:<D ~.::t~~t ~~qm ~.a~n~~:~ ~~t~b.~~~~ ~ i§i

                ~~J.l€!t          tb·~         in•st;a;~t:ted ·t.~· ~~· t;,~lJ~$mQ')?,.Le                  s.i$ht 'Gin         til:l~ .3Sa,~:l;$~;     .tt!:itd
                'o1       l;;.<:Y~k ~:b:e r:;i;~.t~· .tm<1·           \TAtt¢ 'JR;}i~;}p:'i~t;. ~~e'k s~nowt±'rlg 'IDcr~fH~ei ~~e\!#'i:t\t;ed by
                ~l:~© S.to.~te er~ ?¥);.~$:1~~ 'Jb~p~)r'\;:;tR'¢:fl:tt ¢:~                    i!i''i$h   -a~O: €19·ro;rg tt@ s.c$\g;rht~ ~¥b~

               r£fle il:): Ui:H.J'l;g t>n.e afumjJ;ttj;c'J;·on su~~;lie~ liJ¥ :Batn~st :m~i'rt~:tf.d:t wl'1•:L<z;ll
               .b:61;s 'b·$:.en.       manufi~;.l:¢f0~r:E)~:l         a:ti.cl ·sl9Tci JDy 'B'up-e.r:&o;r;: Affi.i'TI:cif:i:\:J::;l,em,/       :C~¢j-

.• =··~-:•.\                1:9.             WhE!tr amtt\U:h'~fu.·.ion sl)l.cih a•s •that mam.tfac't:ured' ;!for S<tt:lt-rre.st

               ,r~r:€d~~l2<ilt           J:l¥    cSS~;P~.·:t.'i·~·~· .~mmJ:J;n:i~.io~i'- Jl:r<t·E: • cle:~.q.:rr:J;f9~-ri ~~~v:$· x;x~;w~:Q~~'$

               jptr."<t>j;>e411¥;            t:he eJ<J,iilo.si:on o;.f t'J:ie           f)<r8':l:}R~ll:a'Pt: wi.t1.1l~i,;n.    the ammtl;tti.tidm

               bctrt:rit:l9e while                     l<li:a:~·!$d    intt:o the r·i:rle create:s rat'pY:idfly· e'*1';?an<i:insr

               ~~tl?€3:~,     which are d.Qot<;~itJ@d p,y the :r:'ifle a;ii.d. ca:tt;;r:h¢1;g;¢ •¢'i'it.$:J~ 1 i;tl;'J;q

               {~s.c:ape         f'rorn tht:: o:;3.;t;:e;r.t.ctge c&Qe a..rH:l                  r.i.fi~     <.'.inly by pr'O:p$1:\fi S:itg t:he




               wi.th tne use of. a properly ·f'UnCt,iotling firearm and p-ropEl'rly
               functioning amrnun.ition.
                           20.          On or about September lH,                                2015,        while si:gh-tin.g Earnest

               Meinha.xd,.t' s rifle :i;n at the Rc;tbl:li.t: Creek shooting ra.:til§Je, q:np


                                                                                         5




                                   Case 3:18-cv-00043-JWS Document 1-1 Filed 02/14/18 Page 6 of 11
 ~i,~:ti~ ':ttsi.m;.~ \~i~i:ttt\J~:t.~.t@Pi iici~;ta.~;~:~ ~,: ltf~~ll:e?S\tt .~~·i~iJ!&~ti$~t ·:t::iliia:tr; w~t

 ~~'l\litt~!~~tr®~~' ~~t -~w.;~~ ~mR:Iiw..Yi'i:'U%.19U,t :J;;~~:~ ~~;~·1.\fl,;~@t.l.t~ f'<ft tithi$

 ~~tt~J'~.<i!:tt ;ti:f~-~;J: :B~i-~ '$\W'~ncti!'t1; 1 ~' ~:t;:;;e.~'t ·t~Q· (:Jl,,~a-ll:~¥ii:' ~jt rfi~:a.n~ ·~ft'
 \Cll:~ ammtl'tl~-ltd::!'iJi~' are~~:u'lfrwl ctn tithe. ,Q'a:rtt:Jtf~~~ c'a;s@ amlli i¥I'di J:;Jie :C:'n f'a~i\1:

 ,~~ ~q~t ~t!1 :e~ ~~~:ttr~~;¥~\ ~~11.\~~ ~r -t::b:~ ~mm~~'t':iG~ ~::r:-P~¢i1J;~;tt ~~

 :~::t:.¥ J~:tro;w~'l'iLiXl.~ bl\~ ¢~:Wtri;~$'~e ;. s                                 lifuJl\,J.e;G: <d,W,wift   ~lte   J::x©x'e    ~D.&: fun~

 ;faattt\rt~J.~.       atrdi .JLr1~b~~~· 'mp;t1$e~: 4:ha 'lf:::i\tli~ ~.®:: £~&1 ;4.rt                                  i:t rtf$1'),111~~ ·;:6:1,i)i -~~l~h

 ;;t ~:   ··~~.~l:i\~l¥ *~.1f1~'~t:~~ ,t;~¢! :n~~~~,tf~ J?;:t'~.t¥'-~~·k$1 :!+tl.lSI'~ ~~~~;:qw.eR'l.. tt1%e~t

 :t:a.;:t~.~   " "~<a.i!$xtJ.:l$~~-'         i~trit ~;e~;~~~~J.;it;~ $'~$f'h,t r .~:rt.<il                   .;k,nj uJ;le~ 'S:!i?\t""~'tti $w;~~a. ,
               '21 .      W!iJUii t1;e,EJ:'t;:       ~utt;s '·        'J;:i'DG\)1   i)t$   (\;'WJ;e ·empli®:,Y'e'%7 c;y:f ~:t;:i a:u $\w:C\mt:ta "

 iNcH:; ®'e~14L:t:·¢~ -~iY J;t:l:J;~ ~l'!{)'M\i,~';i;~tJ;!S                         B;f; AJ,;~;r~fk:.CX; W(Jf~~&~$: 1 ' .. ~'C>~'F'~D:~'i.tf~.:f,,(?·B,
-~t:;~ .<tf;t, AS         z:'3 . c:J;Q,.. ,,~fX.l,   '""' , lhfl::fi t,1Q'. r~;WQifld$ ~Q.J$~~w·$' f.i'~dn!ltp~:Q$i;l;t_::i;,!Qp

'tt€!We£f.it\$. ixt th.:¢                ~:Q~m        :©35. \le'>ayroe#t'. of               m~'i~al .~:i<i~en$:~!3               a-l'le'l   ·r:o:~r   t.i.me



'Fir~:p;~;,~:int;l:~''( :Jdl'1 ~'{;},1'ft1' :~~::4m.~' W~'i,Cih Bt'i£:~41 ;~W:%10.:~~ WPI~ ·J;1Jj~Xi€:d •Wi'+ll~,

:.f ::Cli'tin.<JJ E:.?'i:i:'ii~!Si.ti M~ib'h~,ritfi·tt./         sc     .J;;'i .:f1e .

             :r~..       !fl':{l f.'il'. w:e:s;t; Gu;niS:;, tibXtY j:).:GCfV<ided tJ';le W:d·V'kers I                           C!.Om:@:ensa:t:ion




            23 .         By f.:?\l!d'i';i•<l:i.m.Qt       WG>''!i'k:<~:~:~s·         campen$~.tttib'D            J:>¢het:x t:s: .t0 Sri.q,m:
·Swanda pursu(1l;nt.;:. to. the Alaska W6r.kers' Gorf\pe:n.sation Act: a.f:: P.i,S

?;1 .. 3Q, OQl -              , .4ftQ,. W·iJ~ ,We$t G:qri$ i l..tLC :te.c~ii,V'S1d ~n aS:$J.$fr'l:r;r:tent o..f

ant claim s·rian                         Swet:no.a       rtii3tY have again:s::t: tlua p.efe'r-idcmts Superior

1-\:mnwtniti.on, Inc,. anei/c;:>;r Larry .Barnett in the ~aptioned case.




                   Case 3:18-cv-00043-JWS Document 1-1 Filed 02/14/18 Page 7 of 11
                      ~~- •       ¢fin   :eJw   ~~t ~ti'f,¥ ~;;I        1    ~:cr~).:'r! ;W.{l;d. west;; ,(;~~Itt~;,   t.J:iJ   Jflliir~:~

         ;~~~~,'{; i\i1'$!!Jt•~Jr~t' ,$.f>,, s.·;t;:$:.,:'ft~- t'.~,lf 'f;!]:Jt~~~t m~-t~~:t:~k;"'s .it.:tt'::t~: ~:h~~ w~'~lt

          ~~1~~ct~ ~Be- :&iii i3.~~-li¥ii -~~.&r~~~w· )ha,t ~~l.fQ                          ;;t.a tie$'Gir:th~<l ~·l?~'We 1 tJ;r($
         ~~l,~~¥l~Jk,q s·i~llt: 't:lit~it, :!l~~ ~~:~r1 t~~vm:t;'~ <pl!);;J::;t;;j. 'l::b\e· ;~t·~t;~~"~ ·~11~1.: W~$

         ~~ma~'rll:~ e~,t7t.a:tn. ~tnl.m;it_~,titt tn$:,ti'U\f'~~t,1\t'P'ad. ~y·                     ttl:l.e ne;f:erna~:ttt,
         ~t.t~~l,"'ifil)f;'    :Jtmt:nli;l,n:Lbi,0P1·" 't;!JV!:4>. a:nd a:n a·S§s:d:<e:nmecn't 'fuy       ita~ne:$e, ®'~':t'·nh~xd~t

         t~·    ..1!:~        W~;~t c.'Jtnl.1t;,   p;6t; ~~ '§.:rtW: q{194$w -:$.7:'iS!~;fit: 11~~.vha;t;dt:. w~~ h!,~,;w~ h,q;~
         @.:~~.l,~$\e a\tly            p:;;x;:wc,y in    E~:'J!J~· ~,fii~er; X;~;l;,at;;~ t:Q- t:ib'@: oe~it~iJ:~t:iidn !tlf' .~he,

         lt'b~¥.~ ~~,e1.~          .

                     ~~-         P~Xii~Q1w?i\J?P.B:     1. t::l:Pt'O'ti@h   ~:;s ~,~¢ in'G~¥por:4!:e·d           by l::':e-P'¢:reir:J:e,e
        :,as    le'    :full~ seA:: toltth n:e:r:eiL.n ,.

                     !?£:,,      Th'¢ j)ei(:e11:oan-tsr' <0G;~a;dueb xn                manltfac'tur:i.ng and             s:e~11:Lm:~
'.~.'

        t:~e.; . s;u1fl'j··~,~t:. ~mmu::n:L tii:m ~ill,~'r n~'S:t:;L<g~.rl:·t: .

                     .:2'7.     The 'IDefen:dant;S' ne,.'#fli$,ence h<::~.:tmed and/or dam;;tged t:.h:e

        J?::tai,nli:.i~'f,

                     . ~~.      The oe. fe:t:l'Q,ant:.s are liable· t:o the B'\laintif.f fo:t the lxar¥11

        @:P.d/;(f:j,'¢ gq,maf:i!es o;au.$ed by the Oef¢ndq.,nts' negligence.

                                                                   C0'0"'N:t' tn:
                                                        (U!lfa&1:' Trade 1?-Jt'~tcbices)

                  dt#J.         Paxagraphs              1   throu~)j        28 a:r:e incorpor.ated by r:efe:rence

        G!.$.   if     ~ul ly       set forth he:ffein.
                  3-G.          'the Defendants'                <;:On<:iuQt     in mar1ufq.ct::uring and selling
        J:he subject ammunition was an unfair trade pract.ice in violation
        ef AS 09.50.471 - .561.



                                                                            7




                              Case 3:18-cv-00043-JWS Document 1-1 Filed 02/14/18 Page 8 of 11
           S:J;..       ~{l~, ~~~~~t:;ttJ.:f:s ~ t;t~i;~i;ll?' t}:r~~t~> ~1.<1$\~~~~.~~:1 'ltiia;,~tn$~ '.a®:<;l'(!~t

 :d~~ii~~ (t:'h~ ~~:i;f(~,,i~;f,,

           )~;a: •.     'tfb:~ ~(Wf:,~nd~m:l:.,s ,a:,:~Te J.,;i~ll:~e tp.'t);. tl!l~· '~J,;a,iJ;1,~jfi:f' :C~r ttib~ ,!ita~'

 &;(!)CJrtt;Jft ~~thW.ltJ,~;$1 :Q~:l;l'~~i;11 ~IW l+!'f$ P"$·tr~tl~tt;t;p:t;:$: ' lJ-'~<:tfJq<);::J.t ·~ojz~'tt¢

pJ:::~!¢~~b¥=t {$J '

                                                eo~UN!l' :E:tx
           ,~~e~,a:,:istEl!n® B\3:;s~ili <.>~ t'~ .J:lpG>tJ:¥ine: :o;£ lie'!~                    :tpsa     -~~-:Z ~tw~l

          .;3:~ •       1¥~-:t:~;lP~~h:$, \l ~~~~~~ ·;,\':'$' 113~e· :t:P.~~~~~~~ta~~d:· );):~ :t:m'i'~t'~~~~

$},~   3::1? t::u[ :r;y S"e-t 'e$r,frh' 1:Ve,re:itL

           $'~ "        W~e' ~:ntrf.(l:~ort: u;~~:t;; o-;ltusecl $lm:'t;)~:~.~¢:-'W' ~a~$);,e a:ttd pea;tsqn~:J.

iJ:J'j'u;ty ··<ii•i.J· ·C1$   9/~oVJ~, S>E'f:Wtl'~:mt>·e:r    I$, 2·:o:1s       cl~;JiltJ.t~:l;);l('ad: ·a;~oxre tif¢P;l.l:f xlott

(;f,J:;;~ila~':itil:y    <;cottlt: <$b'S'¢r)Jt ~he Perfeiid~©:-t·s'' ~~g;L:i;:§f~:P~e,
          ~J'\5 .       'i''Et:e Oe.fendar:rtj:; t    c<Dnduet t:,hat, wa:,s, ,§;m;bjt~at· t::o :c~:n;e

l'l,eg"J..i·s~n.~'EP l.'¢gaa~ €i{;)~'t):'im:e         CJt:   X'f3S    .ips;;a. J,oy:~r:;f;l:fl..t' ·rr~rrneti etfl:~/er

.¢~@~~~4. t::lcl,e         :Ji>l;a.frrt:Le·t ·•·
          36.          a:'he Oed:en€fah:ts are liable to the. J?l.aihh;i.ff far the hat'm

and.{.qr; dtuna:ges: caused by the Pefen9<3:nes 1 JYlil;l?$lil?ir:tt to the
ne<913:,g.e:rtce legal qoct:t in¢ Q.f                        Rji}'S .Tp£!:a ~9.qu:i; ftJJr,

                                                             CQ:QNT IV
                      (J3ireaeli Of W-ar:F~\:mt;-y, Tnc):u(i,ing W~~lt:afrt.i~'s Utn:I~r
                                  tb.e Ul:l·i f()r:m co:m:me)::'ci.a.I C<;>oe)

          37.          Paragraphs l through 36 are incorporated by reference

.as if fully set forth herein.



j.ncluding warranties of merchantability and fitness for a

pc;(xticular purpose recogniz;ed by the Uniform Commercial Code as

adopted by both the State of Alaska and the State of south
Dakota.

                                                                  8



                                                                                                                   EXHIBIT
                                                                                                                   Page   ~f _£~~·
                                                                                                                                     I
                      Case 3:18-cv-00043-JWS Document 1-1 Filed 02/14/18 Page 9 of 11
              ~,~ •           ;r.Itta ~~~en&,;~t:!ii ~ ~~t¥.$.\~~' ·.t;lte V!.f(if~;tfJi~ -w~*'·itr:$;Jti;:t;±~~l ,,~~~

 ~~.~~ Q~~~t\i~ Jin;; 5~;h~ ;~~l~ -~;e· -~~~ Q#~$'arms :<?JfiUl1\1<fl.®·~:i;:~n· w'.lwi(\'3'1:1 .i.~ t,\~¢.·

 ~U~~:et¢it:J. -,~~Jf.         tMre:    rG'~~.:U'D~·e:.Gt. ~w~ ~!·tt;: ..

              .t,t{ll;.     ·J:l?;:¢ Il).~,~~·n<i~m;~$· ·?it::~ }j;;~bnfif! ·t;~ -the P!laig.t:i££ f@:tt: t;h~i&
;~$f~a¢-'h !iiif' ~~~ ,~~~ .~\ii~4Jt;it wa~)t'¥fQ't~ 'U£¢.                                        w;l1tt o;~.        fi~~ ~,~;I~ ·~f tit~

~.mJhu:m:,illt;;:f;(i)'n.      mdilice'-:!a .i:s ~;flf:l: S:t:tfi1'~t.. :~f t;:;j;'ie.: !3-0tiip:t-ai\'rir.t :J;;fi tJ-ti;; G;{j\;p'Jt:Jii:!t;i;'l.ii~ij:,

-~~~~~' ~\t~~~ 'S;~~~~\<2tt'i'·



                                                                :P'M~!R          Jti;f;JR;, :!UiJ~l~'

              W:*~~~*'itJ~-: 1 t;'k1~ ~l.l!i\ctJ~1?'$~1: :~Se~;u;e•sib-s                               tbh:a;'t h~ .b;e faWa12'a~·d- f::~@
£9.\ ),,p'i.lf~-IJ:~        d,~rn~~tE;!'$: :

              -:L •       $~<:·'i&l ~..~m9;$J~;l3.h                  %t\L~:l:tl.~;t;m~ p.~ii>W g:pQ: t'~~r,:m.r.g                  mte4J:¢;§.J:
e;&we'i<'lS'~S            i:flCl"tl\f'l?f;I:Q   ''fuy   ~uz~f.aii,;); ;$'~~,l~·p<ai(';l'!   •iRi\lQ. .J?."E:i.$.'t   w·f'qp'~;l';;ty q~fl:i:@W'~~    't;(u~




:t·p ;fu'f$     @~ortt~~ '~Jt ·tt.wt~l·

              2;.         &t;.>atutEJcry,-        hlt~);;J;t~ rd'a:nr~g:e;s ~·$                 :;p:r:o\'t;i;ded t},}T       ~.s   .0 9' 5Q .• 5i4'J:,
a1wcV <ffiarif<1t$,$i9 ·a's s·et :fo.'!itt!h att Ji/!!J 4,$· "\::{0: •..t::t7', i.rJ:<:::Ju.dd.rJ;g t :J:xuJ:: not

JiQ:\J,t::,.q'd       tt).,     QQ'$LSI ;,;ttid,          £iii;Ll :P~<$,:$:Qtl.S:f)jl.e $rttQ.X"l1:~}!' 1                S   f,te\¢$.

           s~...          -p:r'¢j u;Q.:gro~,n:J;;       i>Pi·t;;;$-ttel~\t:,     pqst         jtt~~~ro61.t'l_t;       .tm::te:r:~;S;t,   Gbs'.t;$ iiii:nd

at.t.o.rney' ..s fees.,                     i.ncludit'!J;i:l .f:uTl re·a:song_.,QJe P.tto:t:ney's fe.a.s

pu:r;sua:t:tt t;:.o AS 45. so . 5'37 i.'ncurred in                                              hrif1~ins               this act ion.
          4.              Co:sts.~        interest and at:t:orney fees pursuant tn court




c~)urt        deems app:r;ow·riate under the circumstau,ces ..




                                                                                   9



                                                                                                                                         EXHIS:T __._,;.,/_ _
                                                                                                                                         Page ~f ~..,1./.._.
                      Case 3:18-cv-00043-JWS Document 1-1 Filed 02/14/18 Page 10 of 11
                                     •,,;;<c·•Jl!f.:#
               ~J;~~: ~~f,;ti~        ,, :&'&¥ ,§);£:' :s;~l~H<::e~m~:~r ·~*'·~·1·         a:1t;   J&~~h,W,;t~~~.{ .J:¥i,a~~.

                                                                  Tcf:J:¢: t9,~· ,•. .xiG~s· ·Q-1£
                                                                  ~ft);.;b;Rt+~}t' ' ;i;:>tclt~ ., 'm-t




      ~~~~I(''t·:~; ~E~W~ttlfx~J&':ft~.Qlit

                   ~; '(5s)! t~~, 1~~:~,                ~~·~l~·
                     .      ':i;t;>ii.:~~· ~~· t~h~




~·'




                                                                  10




                 Case 3:18-cv-00043-JWS Document 1-1 Filed 02/14/18 Page 11 of 11
